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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

    UNITED STATES OF AMERICA

   v.                                                CASE NO. 8:13-cr-496-T-17AEP

    ROBERT EARL TAYLOR

                           FORFEITURE MONEY JUDGMENT

          The United States of America moves, pursuant to 18 U.S.C.

   § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Federal Rule of Criminal Procedure

   32.2(b)(2), for a forfeiture money judgment against defendant Robert Earl Taylor

   in the amount of $107,149.00, representing the amount of proceeds he obtained

   as a result of the conspiracy charged in Count One of the Indictment.

           Being fully advised of the relevant facts, the Court finds that defendant

    Robert Earl Taylor obtained $107,149.00 in proceeds from the conspiracy to

    commit wire fraud, in violation of 18 U.S.C. § 1343, to file false and fraudulent

    individual tax returns, in violation of 18 U.S.C. § 287, and to steal government

   funds belonging to the United States Treasury, in violation of 18 U.S.C. § 641, all

    in violation of 18 U.S.C. § 371, as charged in Count One of the Indictment.

          Accordingly, it is ORDERED that the motion of the United States is

    GRANTED.

           It is FURTHER ORDERED that, pursuant to 18 U.S.C. § 981(a)(1)(C),

    28 U.S.C. § 2461(c), and Rule 32.2(b)(2) of the Federal Rules of Criminal

    Procedure, the defendant is liable for a forfeiture money judgment in the amount
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   of $107,149.00. This is a final order of forfeiture as to defendant Robert Earl

   Taylor.

             The Court retains jurisdiction to enter any further order necessary for the

   forfeiture and disposition of any substitute assets that the United States is

   entitled to seek under 21 U.S.C. § 853(p), as incorporated by 28 U.S.C.

   § 2461(c), up to and including the amount of the forfeiture money judgment, and

   to adjudicate any third party claims that may be asserted.

             ORDERED in Tampa, Florida, January                     2015.




   Copies to:
   All Parties/Counsel of Record




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